            Case 4:19-cv-05075-RMP                   ECF No. 39          filed 12/31/20     PageID.285 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                                   FILED IN THE
                                                                  for the_                                          U.S. DISTRICT COURT
                                                                                                              EASTERN DISTRICT OF WASHINGTON
                                                     Eastern District of Washington
   GREG WILLIAMS and RACHELUE WILLIAMS, a                                                                     Dec 31, 2020
              marital community,                                                                                   SEAN F. MCAVOY, CLERK
                                                                     )
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 4:19-CV-5075-RMP
                                                                     )
 QUALITY MIDWESTERN HOLDINGS, INC., d/b/a
QUALITY SERVICES MOVING, a Virginia corporation,                     )
           and EDWARD GRAVES,
                            Defendant

                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: The parties’ Stipulation of Settlement Motion for Order of Dismissal with Prejudice, ECF No. 37, is GRANTED.
’
              Plaintiffs’ Complaint is dismissed with prejudice and without fees or costs to any party.




This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge               Rosanna Malouf Peterson




Date: 12/31/2020                                                            CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Courtney Piazza
                                                                                          (By) Deputy Clerk

                                                                             Courtney Piazza
